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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


PLAQUEMINES PARISH SCHOOL BOARD                                           CIVIL ACTION

VERSUS                                                                    NO: 06-7213

INDUSTRIAL RISK INSURERS, ET AL.                                          SECTION: “S”(3)


                                            ORDER

       Having considered Defendants’ Motion In Limine to Exclude Plaintiff’s Expert Paul

Amoruso filed by defendants, Industrial Risk Insurers and Westport Insurance Corporation,

       IT IS ORDERED that the motion is GRANTED, and that the expert report and testimony

of Paul Amoruso will be excluded from the trial of this matter.

       New Orleans, Louisiana this       day of ________________, 2009.


                                                    ______________________________
                                                    MARY ANN VIAL LEMMON
                                                    UNITED STATES DISTRICT JUDGE
